Case 4:22-cv-03359 Document 50-5 Filed on 01/31/23 in TXSD Page 1 of 6




          Exhibit E
     Case 4:22-cv-03359 Document 50-5 Filed on 01/31/23 in TXSD Page 2 of 6




Disbursements
 Date     Description                                                         Amount
 Expense Code: NONE
 12/15/22 Reimbursement from Nichole E Forrest , refund fr court reporter       ($49.50)
          Subtotal for NONE                                                     ($49.50)

 Expense Code: E102
 10/13/22 Imaging Services - Print Black and White documents (5 @ 0.12)           $0.60
 10/13/22 Imaging Services - Print Color Document (10 @ 0.50)                      5.00
 10/13/22 Imaging Services - Print Color Document (8 @ 0.50)                       4.00
 10/13/22 Imaging Services - Print Black and White documents (2 @ 0.12)            0.24
 10/13/22 Imaging Services - Print Color Document (10 @ 0.50)                      5.00
 10/13/22 Imaging Services - Print Black and White documents (9 @ 0.12)            1.08
 10/14/22 Imaging Services - Print Black and White documents (4 @ 0.12)            0.48
 10/14/22 Imaging Services - Print Color Document (12 @ 0.50)                      6.00
 10/26/22 Imaging Services - Print Black and White documents (1,547 @ 0.12)      185.64
 10/28/22 Imaging Services - Print Color Document (6 @ 0.50)                       3.00
 10/31/22 Imaging Services - Black and White Copies (1,158 @ 0.12)               138.96
 11/15/22 Imaging Services - Print Black and White documents (7 @ 0.12)            0.84
 11/15/22 Imaging Services - Print Color Document (42 @ 0.50)                     21.00
 11/15/22 Imaging Services - Print Color Document (13 @ 0.50)                      6.50
 11/15/22 Imaging Services - Print Black and White documents (6 @ 0.12)            0.72
 11/22/22 Imaging Services - Print Color Document (10 @ 0.50)                      5.00
 11/22/22 Imaging Services - Print Black and White documents (68 @ 0.12)           8.16
 11/29/22 Imaging Services - Print Black and White documents (250 @ 0.12)         30.00
 12/06/22 Imaging Services - Print Black and White documents (278 @ 0.12)         33.36
 12/06/22 Imaging Services - Print Black and White documents (193 @ 0.12)         23.16
 12/08/22 Imaging Services - Black and White Copies (3,643 @ 0.12)               437.16
 12/13/22 Imaging Services - Print Black and White documents (110 @ 0.12)         13.20
 12/14/22 Imaging Services - Print Color Document (75 @ 0.50)                     37.50
 12/15/22 Imaging Services - Print Color Document (93 @ 0.50)                     46.50
 12/15/22 Imaging Services - Scan Paper Documents (718 @ 0.10)                    71.80
 12/15/22 Imaging Services - Print Black and White documents (441 @ 0.12)         52.92
 12/16/22 Imaging Services - Scan Paper Documents (307 @ 0.10)                    30.70
 12/21/22 PayPal, Inc., Copies, Fee for documents produced in response to         48.00
          Subpoena.
 12/21/22 Imaging Services - Scan Paper Documents (963@ .10)                       96.30
 12/28/22 Imaging Services - Scan Paper Documents (12@ .10)                         1.20
 12/28/22 Imaging Services - Color Copies (12@ .50)                                 6.00
 12/28/22 Imaging Services - Color Copies (16@ .50)                                 8.00
 12/30/22 Imaging Services - Print Black and White documents (36 @ 0.12)            4.32
          Subtotal for E102                                                    $1,332.34

 Expense Code: E106
 10/19/22   Lexis Legal Research                                                  $84.15


4893-7172-1548
     Case 4:22-cv-03359 Document 50-5 Filed on 01/31/23 in TXSD Page 3 of 6




 10/19/22        Lexis Legal Research                                 1,178.10
 10/19/22        Lexis Legal Research                                    45.05
 10/19/22        Lexis Legal Research                                    80.75
 10/26/22        Lexis Legal Research                                    84.15
 10/31/22        Pacer                                                    0.10
 10/31/22        Accurint                                                66.28
 11/06/22        Westlaw                                                 17.03
 11/30/22        Accurint                                                34.93
 12/01/22        Westlaw                                                 35.21
 12/15/22        Westlaw                                                 42.57
 12/22/22        Westlaw                                                 17.03
 12/27/22        Westlaw                                                 25.54
 12/28/2022      Westlaw                                                165.49
 12/29/2022      Westlaw                                                 17.03
 12/31/2022      Accurint                                               129.94
                 Subtotal for E106                                   $2,023.35

 Expense Code: E107
 10/06/22   Special Postage                                             $10.13
 10/13/22   Special Postage                                              11.75
 10/13/22   Special Postage                                              11.75
 10/13/22   Special Postage                                              11.75
 10/19/22   Special Postage                                               0.57
 10/19/22   Special Postage                                               0.57
 10/19/22   Special Postage                                               0.57
 10/19/22   Special Postage                                              11.75
 10/19/22   Special Postage                                              11.75
 10/19/22   Special Postage                                              11.75
 10/24/22   Delivery                                                     21.10
 10/26/22   Special Postage                                              12.35
 10/26/22   Special Postage                                               2.50
 10/26/22   Special Postage                                               0.96
 10/26/22   Special Postage                                              11.75
 10/26/22   Special Postage                                              11.75
 10/26/22   Special Postage                                               0.96
 10/26/22   Special Postage                                              14.00
 10/26/22   Special Postage                                              14.00
 10/27/22   Special Postage                                              11.75
 10/27/22   Special Postage                                               0.96
 10/31/22   Delivery                                                     26.17
 11/4/22    Delivery                                                     19.73
 11/9/22    Delivery                                                     16.84
 11/9/22    Special Postage                                              13.25
 11/15/22   Special Postage                                               8.93
 11/15/22   Special Postage                                               8.93

                                        -2-
4893-7172-1548
     Case 4:22-cv-03359 Document 50-5 Filed on 01/31/23 in TXSD Page 4 of 6




 11/15/22        Special Postage                                                   8.93
 11/15/22        Special Postage                                                   8.93
 11/15/22        Special Postage                                                   8.93
 11/15/22        Special Postage                                                   8.21
 11/15/22        Special Postage                                                   9.17
 11/15/22        Special Postage                                                   8.45
 11/15/22        Special Postage                                                   8.45
 11/15/22        Special Postage                                                   1.20
 11/15/22        Special Postage                                                   1.20
 11/22/22        Delivery                                                         29.01
 12/2/22         Delivery                                                         21.48
                 Subtotal for E107                                              $392.23

 Expense Code: E110
 10/21/2022 Caroline Gieser, Fuel, SEC Receivership - Houston, TX, 10/03/22     $29.45
            Subtotal for E110                                                   $29.45

 Expense Code: E111
 10/21/22   Caroline Gieser, Breakfast, SEC Receivership -     Houston, TX,       $5.59
            09/30/22
 10/21/22   Caroline Gieser, Lunch, SEC Receivership -        Houston, TX,        10.18
            09/30/22
 10/21/22   Caroline Gieser, Dinner, SEC Receivership -        Houston, TX,        3.55
            09/30/22
 10/21/22   Caroline Gieser, Lunch, SEC Receivership -        Houston, TX,        19.25
            10/01/22
 10/21/22   Caroline Gieser, Lunch, SEC Receivership -        Houston, TX,        29.22
            10/02/22
 10/21/22   Caroline Gieser, Breakfast, SEC Receivership -     Houston, TX,        9.20
            10/03/22
 10/21/22   Caroline Gieser, Dinner, SEC Receivership -        Houston, TX,       23.54
            10/03/22
            Subtotal for E111                                                   $100.53

 Expense Code: E112
 10/13/22   Fort Bend County Clerk, Court Filing Fees, Recording Notice of       $20.00
            Interest in Property located at 2030 Green Haven Ct., Missouri
            City, TX 774593872.
 10/13/22   Fort Bend County Clerk, Court Filing Fees, Recording fee for          20.00
            property located at 24923 Tidmor Lane, Richmond, TX 77406
 10/13/22   Fort Bend County Clerk, Court Filing Fees, Recording fee              20.00
            regarding property located at 9302 Knollwood Lane, Missouri City,
            TX 77459.5196.
 10/13/22   Fort Bend County Clerk, Court Filing Fees, Recording fee for          20.00
            property located at 26602 Polaris Rise Lane, Richmond, TX 77406.


                                            -3-
4893-7172-1548
     Case 4:22-cv-03359 Document 50-5 Filed on 01/31/23 in TXSD Page 5 of 6




 10/13/22        Fort Bend County Clerk, Court Filing Fees, Recording fee for              20.00
                 property located at 27915 Round Moon Lane, Katy, TX 77494
 10/18/22        Waller County Clerk, Court Filing Fees, Recording fee for property        20.00
                 located in Waller County - Hogan Lane, Hempstead, TX 77445.
 10/18/22        Waller County Clerk, Court Filing Fees, Recording fee for Notice          20.00
                 of Interest in Real Property re: 28 Lawrence Marshall Dr.,
                 Hempstead, TX 77445
 10/18/22        Waller County Clerk, Court Filing Fees, Recording fee for Notice          20.00
                 of Interest in Real Property - Mack Washington, Hempstead, TX
                 77445.
 10/28/22        U.S. District Clerk, Court Filing Fees, Filing Fee for Notice of          49.00
                 Filing Miscellaneous Action: Registration of Appointment of
                 Receiver.
 12/02/22        Commerce Bank, Court Filing Fees, Pay.gov filing                         49.00
 12/02/22        Commerce Bank, Court Filing Fees, Fee to Open Case                       49.00
 12/23/22        Commerce Bank, Translation, Website FAQ translation                      85.00
 12/30/22        Commerce Bank, Court Filing Fees, eFiling                                49.00
                 Subtotal for E112                                                      $441.00

 Expense Code: E113
 12/07/22   Veritext XX-XXXXXXX, Service of Subpoena, on Gabriel Torres,                $200.00
            11/22/2022
 12/07/22   Veritext XX-XXXXXXX, Service of Subpoena, Service of Subpoena on             203.50
            Teresa Torres.
            Subtotal for E113                                                           $403.50


 Expense Code: E115
 10/27/22   Nichole Forrest, Depositions/Transcripts, Fee for providing                 $218.45
            original and one copy of September 29, 2022 Preliminary
            Injunction hearing.
 12/23/22   Gradillas Court Reporters, Depositions/Transcripts, Oral                     371.50
            Deposition of Angelica Vargas.
            Subtotal for E115                                                           $589.95

 Expense Code: E118
 12/30/2022 Gulfstream Legal Group LLC, Litigation Support Vendor,                    $20,825.00
            Electronic and forensic data collection from devices related to
            Securities and Exchange Commission (MceSECAC1) filed a
            complaint against Mauricio Chavez, Giorgio Benvenuto,
            CryptoFX, LLC and CBT Group LLC. Houston, TX.
 12/30/22   Gulfstream Legal Group LLC, Litigation Support Vendor,                     30,658.44
            Scanning of all documents retrieved related to Securities and
            Exchange Commission (MceSECAC1) filed a complaint against
            Mauricio Chavez, Giorgio Benvenuto, CryptoFX, LLC and CBT


                                                -4-
4893-7172-1548
     Case 4:22-cv-03359 Document 50-5 Filed on 01/31/23 in TXSD Page 6 of 6




                 Group LLC, in addition to Relativity set-up, licensing and
                 management. Houston, TX.
                 Subtotal for E118                                              $51,483.44

 Expense Code: E123
 12/12/22   Appraisal MC LLC, Professional Services, Appraisal of Waller         $4,695.00
            County, TX properties.
            Subtotal for E123                                                   $4 ,695.00

 Expense Code: E124
 10/21/22    Valerie Muniz Hayes, Commercial cleaning services of building at    $1,872.36
             1124 Blalock in connection with SEC v. Mauricio Chavez, Giorgio
             Benvenuto, CryptoFX, LLC and CBT Group, LLC. 1124 Blalock,
             Houston, TX, 10/09/22
 11/29/22    Commerce Bank, Translation, Translation and Interpretation             85.00
 11/29/22    Commerce Bank, Supplies, Key Copy for Landlord                          8.64
 11/29/22    Commerce Bank, Photographs, Camera Memory Card for SEC                 43.29
             Case.
 11/29/22    Commerce Bank, Supplies, Key Copy for 1124 Blalock.                    10.81
 11/29/22    Commerce Bank, Reference Materials, Fed Ex - Laminating                 5.39
             Signage for Mauricio Chavez, et al.
 11/29/22    Commerce Bank, Reference Materials, Fed Ex (2) - Laminating              5.39
             Signage for Mauricio Chavez, et al.
 11/29/22    Commerce Bank, Reference Materials, Office Depot - Packing              44.10
             boxes for 1124 Blalock.
 12/20/22    Valerie Muniz Hayes, Obtain title history documents from Texas          17.25
             Department of Motor Vehicles for vehicles registered to Mauricio
             Chavez; Houston, TX, 12/12/22
 12/23/22    Commerce Bank, Facilities, Forced opening of small safe at 1124      1,200.00
             Blalock
 12/23/22    Commerce Bank, Facilities, Forced opening of large safe at 1124      1,500.00
             Blalock
             Subtotal for E124                                                   $4,792.23
 Total Disbursements                                                             66,233.52




                                            -5-
4893-7172-1548
